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     FERNANDO QUINTERO
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Case No. 1:11-cr-412 LJO
12
                               Plaintiff,                 STIPULATED MOTION AND ORDER TO
13                                                        REDUCE SENTENCE PURSUANT TO 18
               v.                                         U.S.C. § 3582(c)(2)
14
     FERNANDO QUINTERO,                                   RETROACTIVE DRUGS-MINUS-TWO
15                                                        REDUCTION CASE
                               Defendant.
16                                                        Judge: Honorable LAWRENCE J. O’NEILL

17             Defendant, FERNANDO QUINTERO, by and through his attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On July 29, 2013, this Court sentenced Mr. Quintero to a term of 121 months

25   imprisonment;

26             3.         His total offense level was 31, his criminal history category was II, and the

27   resulting guideline range was 121 to 151 months;

28

     Stipulation and Order Re: Sentence Reduction           1
     Case 1:11-cr-00412-JLT-SKO Document 117 Filed 07/05/16 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Quintero was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Quintero’s total offense level has been reduced from 31 to 29, and his
5    amended guideline range is 97 to 121 months. Mr. Quintero is subject to the statutory mandatory
6    minimum of 120 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Quintero’s term of imprisonment to a term of 120 months.
9    Respectfully submitted,
10   Dated: July 1, 2016                                Dated: July 1, 2016
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13   /s/_Kathleen A. Servatius________                  /s/ Hannah Labaree_ _
     KATHLEEN A. SERVATIUS                              HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           FERNANDO QUINTERO
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Quintero is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 31 to 29, resulting in an amended
6    guideline range of 97 to 121 months, subject to the operation of the statutory mandatory
7    minimum of 120 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2013 is
9    reduced to a term of 120 months. In no event is this Order to be understood as authorizing a
10   term of imprisonment less than the term actually served as of the date of this order.
11             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
12   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
13   reduction in sentence, and shall serve certified copies of the amended judgment on the United
14   States Bureau of Prisons and the United States Probation Office.
15             Unless otherwise ordered, Mr. Quintero shall report to the United States Probation Office
16   within seventy-two hours after his release.
17
     IT IS SO ORDERED.
18
19        Dated:        July 5, 2016                           /s/ Lawrence J. O’Neill _____
                                                      UNITED STATES CHIEF DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction        3
